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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


ELAINE ABBOTT
                   Plaintiff,

          v.
                                                        CIVIL ACTION NO: 1:22-cv-02717-BAH

SHELLEY FINLAYSON, Acting Director
U.S. Office of Government Ethics

                   Defendant.



                  PLAINTIFF’S MOTION TO MODIFY SCHEDULING ORDER

          Pursuant to Federal Rules of Civil Procedure 6(b)(1) and 7(b), Plaintiff, appearing Pro Se,

moves the Court to modify its November 27, 2023, Scheduling Order by granting the Parties a 30-

day period to conform Discovery responses to the Court’s February 6, 2024, entry of a Protective

Order in this case. As of this filing:

          1. Discovery in this case closed on January 24, 2024.

          2. On February 6, 2024, the Court entered the Protective Order (ECF No. 25) in this case

                resolving an impasse between the Parties.

          3. This past week, Plaintiff found a tranche of handwritten notes that can supplement her

                responses to Defendant’s Discovery requests. To do so, however, requires time-

                consuming color, document size, and position correction to the handwritten notes1, their

                integration into existing responsive paper documents, protective designation (as

                appropriate), and digitization before they are transmitted to the Defendant.



1
    There will be no alteration to the substance of the handwritten notes.
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       As required by Local Civil Rule 7(m), Plaintiff conferred with the Defendant via electronic

mail regarding these matters on February 8, 9, and 12, 2024. Defendant, through its counsel, agreed

to a 30-day period for the Parties to update and comport Discovery responses as described above

but opposes modifying the Court’s Scheduling Order to account for that adjustment. Discovery

did not occur in the administrative proceedings preceding this lawsuit. Therefore, the document

compilation and preparation issues Plaintiff is experiencing due to this past week’s discovery of

responsive documents and the February 6, 2024, entry of a Protective Order in this case are quite

recent. Plaintiff’s Motion seeks to allow both Parties reasonably sufficient time to prepare and

review updated Discovery responses in order to comply with the remaining Scheduling Order

provisions in a fulsome manner. Plaintiff’s proposed modifications to the Court’s existing

Scheduling Order are as follows:

                              February 13, 2024 - March 13, 2024:
          30-day period for Parties to supplement, make appropriate privacy protection
          designations, and transmit updated Discovery responses.

              Court’s Scheduling Order                    Proposed Modifications
              (11/27/2023 Minute Order)              to the Court’s Scheduling Order
          January 24, 2024:                         April 2, 2024:
          Joint Status Report advising the Court    Joint Status Report advising the Court
          whether: (a) the Parties request a stay   whether: (a) the Parties request a stay
          of proceedings and referral to            of proceedings and referral to
          mediation; or (b) the Parties             mediation; or (b) the Parties
          anticipate filing dispositive motions.    anticipate filing dispositive motions.

          March 22, 2024:                           June 3, 2024:
          Any dispositive motions due.              Any dispositive motions due.

          April 26, 2024:                           July 8, 2024:
          Any oppositions due.                      Any oppositions due.

          May 24, 2024:                             August 7, 2024:
          Replies due.                              Replies due.




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       Defendant previously requested three extensions – two to file an Answer to Plaintiff’s

original and amended Complaints and one to enlarge the Discovery period. The Parties jointly

requested a two-month extension of the Discovery period and briefing schedule. This is the

Plaintiff’s first request to modify the Scheduling Order in this case. The convergence of the

existing Scheduling Order’s January 24, 2024, close of Discovery with the timeframe that the

Court resolved the Parties’ Protective Order dispute on February 6, 2024, may have resulted in an

inadvertent failure to comply with the Court’s four-day rule for extension requests as delineated in

its Standing Order for this case. If so, Plaintiff regrets that error and nonetheless respectfully

petitions the Court to countenance this Motion which is filed for good cause as enumerated above,

in good faith, and without purpose of undue delay but rather in the interest of substantively

facilitating the resolution of this matter. Even though due dates will be extended in this case, the

Parties should not suffer prejudice by granting this Motion.

       If the Court is not amenable to this Motion, Plaintiff anticipates filing a future request to

extend time to comply with the provisions of the Court’s existing Scheduling Order. A proposed

Order is attached.



Dated: February 12, 2024              Respectfully Submitted,

                                      /s/ Elaine Abbott
                                      Elaine Abbott
                                      Plaintiff, Appearing Pro Se
                                      Email: discriminationlawsuitvoge@protonmail.com




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                             UNITED STATES DISTRICT COURT
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ELAINE ABBOTT
                Plaintiff,

       v.
                                                     CIVIL ACTION NO: 1:22-cv-02717-BAH

SHELLEY FINLAYSON, Acting Director
U.S. Office of Government Ethics

                Defendant.



                                     [PROPOSED] ORDER

       Upon consideration of the Plaintiff’s Motion to Modify the Scheduling Order, and for good

cause shown, pursuant to the entire record herein, it is hereby,

       ORDERED that the Motion to Modify is GRANTED; and it is further

       ORDERED that the Scheduling Order is modified as follows:

                April 2, 2024:        Joint Status Report due.

                June 3, 2024:         Any Dispositive Motions due.

                July 8, 2024:         Any Oppositions due.

                August 7, 2024:       Replies due.



SO ORDERED:



DATE: ________________                        __________________________________________
                                              BERYL A. HOWELL
                                              United States District Judge



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